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      B1040 (FORM 1040) (12/15)

             ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                                 (Court Use Only)
                                  (Instructions on Reverse)

 PLAINTIFFS                                                                        DE ENAN'hSz                    ,.. z.z, c              .
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   PARTY (Check One Box Only)                          PARTY (Check One Box Only)
   o Debtor    o U.S. Trustee/Bankruptcy Admin        An-Debtor      o U.S. Trustee/Bankruptcy Admin
,s-Creditor    o Other                                 o Creditor    o Other
   o Trustee                                           o Trustee
   CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE ACTION, INCLUDING ALL 2 e,STATUTESZYED)
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                                                                NATURE OF SUIT
            (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.

      , FRBP 7001(1) - Recovery of Money/Property                                  FRBP 7001(6) - Dischargeability (continued)
 7 11-Recovery of money/property - §542 turnover of property                       I 61-Dischargeability - §523(a)(5), domestic support,
  • 12-Recovery of money/property - §547 preference                                • 68-Dischargeability - §523(a)(6), willful and malicious injury
 12 13-Recovery of money/property - §548 fraudulent transfer                       • 63-Dischargeability - §523(a)(8), stu        n
  •     14-Recovery of money/property - other                                      • 64-Dischargeability - §523(a)(15), di oEys or aratioligation
                                                                                                                                            —
                                                                                        (other than domestic support)                       s.,.
        FRBP 7001(2) - Validity, Priority or Extent of Lien                        • 65-Dischargeability - other                            7:
  .     21-Validity, priority or extent of lien or other interest in property
                                                                                                                                                          '       .
                                                                                   FRBP 7001(7) - Injunctive Relief                 c-'' i2 '    N.)          .
        FRBP 7001(3) - Approval of Sale of Property                                •  71-Injunctive relief- imposition o                         rso
  •     31-Approval of sale of property of estate and of a co-owner - §363(h)      5] 72-Injunctive relief- other                                 ,
        FRBP 7001(4) - Objection/Revocation of Discharge                                                                           --
                                                                                   FRBP 7001(8) Subordination of Claim Orinterest -.. ,          —
  •     41-Objection / revocation of discharge - §727(c),(d),(e)                   • 81 -Subordination of claim or interest i4...i
                                                                                                                                                      ,
     FRBP 7001(5) - Revocation of Confirmation                                     FRBP 7001(9) Declaratory Judgment
  01 51-Revocation of confirmation                                                 . 91-Declaratory judgment
                                                                                                               ,
    FRBP 7001(6) - Dischargeability                                                FRBP 7001(10) Determination of Removed Action
  • 66-Dischargeability - §523(a)(I),(14),(14A) priority tax claims                • 01-Determination of removed claim or cause
  F 62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                               Other
 21 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny    III SS-SIPA Case - 15 U.S.C. §§78aaa etseq.
                                                                                   •   02-Other (e.g. other actions that would have been brought in state court
                           (continued next column)
                                                                                          if unrelated to bankruptcy case)

    o Check if this case involves a substantive issue of state law   o Check if this is asserted to be a class action under FRCP 23
,..„.421-Check if a jury trial is demanded in complaint              Demand $ tr5 — ooD oo o e'
                                                                                        I
    Other Relief Sought
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 B1040 (FORM 1040) (12/15)

                BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEB,T013..-7.--,,                      BANIQW,F,TCY CASE NO..
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DISTRICT IN WHICH cAsy.,is PENDING                '                   DIVISION OFFICE                    NAME OF JUDGE
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                                     RELAT D ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                               DEFENDANT                                        ADVERSARY
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SIGNATURE OF ATTORNEY (OR PLAMF4)
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DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)

     5-                                                                CA56Prdirea)22sAl- 2a#141
                                                             INSTRUCTIONS

            The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA



CASSANDRA JOHNSON LANDRY                       )             Adversary Proceeding

Plaintiff                                      )             Case No. 18-55697 LRC

               vs.                             )

H&R BLOCK MORTGAGE LLC.                        )

MORTGAGE ELECTRONIC SYSTEMS )                             Demand: Trial by Jury

OPTION ONE MORTGAGE                            )

OCWEN LOAN SERVICING, LLC.                     )

PHH MORTGAGE SERVICES                          )                                     rN)

DEUTSCHE BANK NATIONAL TRUST COMPANY

Defendants


COMPLAINT FOR INJUNCTIVE RELIEF AND DEMAND FOR 1 RY TRIAL


Comes Now CASSANDRA JOHNSON- LANDRY herein "Plaintiff', hereby files this

Adversary Complaint pursuant to Federal Bankruptcy Rules of Procedure 7001 for Injunctive

Relief and Trial by jury for the following reasons:


                                JURISDICTION / VENUE
   1. This is an adversary proceeding pursuant to Rule 7001 of the Federal

        Bankruptcy Procedure.



   2. This Court has jurisdiction over this proceeding pursuant to

       28 U.S.C. Section 1334.7. This adversary proceeding constitutes a
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     core proceeding pursuant to 28 U.S.C. Section 1579B)(2)(F)



   3.This District is the proper venue for this proceeding pursuant 28 U.S.C. Section 1409.



   4. Jurisdiction is invoked by 28 U.S.C. Sect 1331 Federal Question and

     U.S.0 Section 1640 et seq and 28 U.S. C. Sec 1367, supplemental

     jurisdiction over the state law claims. Venue is proper based due to location of controversy


                                     PARTIES

Plaintiff, CASSANDRA JOHNSON- LANDRY and IVY LANDRY, Co-Debtor are of

reasonable age and discretion, residing at 869 Natchez Valley Trace, Grayson, Georgia 30017:


1.H&R BLOCK MORTGAGE LLC. et al is a foreign corporation,

   Principal Office is located: 43150 Broadlands Center, Ste 122, Broadlands, VA 20148.



2. Mortgage Electronic Registration Systems is a foreign corporation

  Headquartered located: 1818 Library Street Suite 300 Reston, VA 20190.



3. OPTION ONE MORTGAGE LLC. et al is a foreign corporation,

   Principal Office is located: 945 Heather Turn Harrisburg, Oregon 97446



4. OCWEN LOAN SERVICING LLC.et al is a foreign corporation, whose

  Principal Office is located: 1661 Worthington Road, Suite 100

  West Palm Beach, Florida 33409


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5. PHH MORTGAGE LLC: et al is a foreign corporation, Principal Office is located at

  1 Mortgage Way, Mount Laurel, New Jersey 08054-4637

                   and

  3000 Leadenhall Road, Mount Laurel, New Jersey 08054



6. DEUTSCHE BANK NATIONAL TRUST COMPANY. et al is a foreign

 corporation, Principal Office: Deutsche Bank 60 Wall Street

 New York, NY, 10005.



                                      INTRODUCTION
The Plaintiff(s) was steered into a fraudulent loan transaction in the month of April 2004.

Cassandra and Ivy Landry assumed they were purchasing the residence located at 1440 Highland

lake Drive, Lawrenceville, Georgia 30045. The residence was previously owned by Timothy and

Karen Hester, Private Owners. At the time of purchase the home was in foreclosure with a

scheduled foreclosure date within 7 days, after the Cassandra and Ivy Landry were made aware

of the home by Timothy and Karen Hester. The Foreclosure Law firm, Hardwick and Jackson

located in Loganville, Georgia, facilitated the complete transaction. The Plaintiff provided

earnest money for property prior to closing date which was April 5, 2004 by the Law Firm of

Jackson and Hardwick, 253 Main Street, Loganville Georgia 30051. The Law Firm of Jackson

and Hardwick were NOT authorized to conduct or facilitate any loan process for H&R Block

Mortgage. H&R Block Mortgage was not registered to do business in Georgia, during the 2004

time period, u nor did they appear to be aware of the facilitated transaction.




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On April 5, 2004, Cassandra and Ivy Landry arrived at the closing. There was no representation

from H and R Block Mortgage. The Attorney's, Jackson and Hardwick executed an unauthorized

fraudulent security deed and note. The Plaintiffs were unaware of the Attorneys wrong doings

during the closing process. Although H&R Block was not aware of the deposit into the accounts

of Jackson and Hardwick, the law firm was still able to submit promissory notes to the Federal

Reserve Bank and receive several astronomical amounts of money from the Federal Reserve

Window, without the Plaintiffs knowledge.


The promissory note and the security deed were signed in 2004. In 2005 Jackson and Hardwick

Law Firm created another fraudulent deed under Option One Mortgage. Eventually the Attorney

Nathaniel Hardwick was sentenced and voluntarily surrendered his Bar Number to the State Bar

of Georgia in or around the year(s) 2018-2019.


Cassandra Johnson-Landry experienced financial difficulty causing them to file a Chapter 13

Bankruptcy on April 3, 2018. The Landry's were NOT aware the excessive fraudulent

interactions until after extensive research was conducted resulting in the unveiling off fraudulent

transactions, involving, both personal and commercial Real Property. Their research was

triggered by numerous forms of retaliation after Cassandra Landry testified on behalf of a 5 year

old client in 2015 against the state of Georgia.


Any financial transaction predicated on fraud should be canceled or discharged on the

dishonorable court. Rescission in negotiation. Let the record reflect that only one attorney was

prosecuted for fraud for steering the Plaintiffs into an unlawful fraudulent transaction.




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   The Plaintiffs have clear material facts to substantiate their claims and state that throughout

this proceeding, the Plaintiffs repeatedly asked for Full Disclosure through the subpoena in order

to ascertain and identify the true debtor in this proceeding. The Plaintiffs are entitled to pursue

new discovery to obtain evidence in this case.


   The Plaintiffs' request is well established by the Supreme Court that a subpoena can be

obtained to get documents if it is relevant and necessary to the case. Nixon vs. US; Braswell vs.

US; Corporations don't have parity or 5th Amendment protection in requesting key documents.


   During this proceeding the Plaintiffs discovered that key Federal Forms that document

banking transactions, were originally requested on the subpoena. Check banking laws on

authorizations and lending in Georgia. When the note was deposited she was supposed to receive

a receipt under 12-1813L1.


               CAUSES OF ACTION INJUNCTIVE RELIEF

1). Plaintiff has a clear legal right to seek temporary and permanent injunctive relief as

Plaintiff's parents resides in the property and as Defendants are seeking, through illegal and

unlawful means and without satisfying the necessary legal standing requirements of having a

valid enforceable contract from the originator to initiate foreclosure action. The Plaintiff is

entitled to due process pursuant to the 4th and 5th Amendment to United States Constitution.


2). An actual controversy has arisen and now exists between Plaintiff and Defendants regarding

its receptive rights and duties, in that Plaintiff contends that Defendants do not have the right to

initiate foreclosure proceeding on the Subject Property because Defendant's have not received



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any valuable consideration from the originator of the alleged loan transactions to enforce any

secured interest in the subject property, rendering their actions as void and unenforceable.


3). The Plaintiff is not the Account Debtors because there is no evidence that supports the

Plaintiff' in receiving any valid contract or valuable consideration from the original Creditor to

foreclose on the above Defendant's property. The Contract was never fulfilled by the originator

which deceptively misleads the Defendants throughout the primary and secondary transaction of

an alleged mortgage transaction.


4). The Defendant, H&R Block Mortgage LLC the" Original creditor, deposited "the Note as an

asset for the Defendants, paying the entire cost of property. See O.C. G. A 11-9-102 (A) (10).

Then the originator placed the Note on the liability side for the alleged borrowers known as

Double Entry Bookkeeping to conform to GAAP Generally Accepted Accounting Principle rules

and regulations under the Securities and Exchange Act of 1933.


5). The FR 2046 would show that the Federal Reserve collects balance sheet data from discount

window borrowers on the FR 2046 to monitor discount window borrowing. Borrowers report six

data items: total securities, federal funds sold and resale agreements, total loans (gross), total

assets, total deposits, and federal funds purchased and repurchase agreements.


Under 12 USC sec. 248, "The original creditor" is required to conduct the following:


    (a) Examination of accounts and affairs of banks; publication of weekly statements; reports

        of liabilities and assets of depository institutions; covered institutions


1). To examine at its discretion the accounts, books, and affairs of each Federal Reserve Bank

and of each member bank and to require such statements and reports as it may deem necessary.
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2). The said board shall publish once each week a statement showing the condition of each

Federal reserve bank and a consolidated statement for all Federal reserve banks. Such statements

shall show in detail the assets and liabilities of the Federal Reserve Banks, single and combined,

and shall furnish full information regarding the character of the money held as reserve


3). The amount, nature, and maturities of the paper and other investment owned or held by

Federal reserve banks.


4) To require any depository institution specified in this paragraph to make, at such intervals as

the Board may prescribe, such reports of its liabilities and assets as the Board may determine to

be necessary or desirable to enable the Board to discharge its responsibility to monitor and

control monetary and credit aggregates. Such reports shall be made:


(a) Directly to the Board in the case of member banks and in the case of other depository

institutions whose reserve requirements under sections 461, 463, 464, 465, and 466 of this title

exceed zero.


(b) For all other reports to the Board through the (i) Federal Deposit Insurance Corporation in the

case of insured State savings associations that are insured depository institutions (as defined in

section 1813 of this title), State nonmember banks, savings banks, and mutual savings banks, (ii)

National Credit Union Administration Board in the case of insured credit unions, (iii) the

Comptroller of the Currency in the case of any Federal savings association which is an insured

depository institution (as defined in section 1813 of this title or which is a member as defined in

section 1422 of this title, and (iv) such State officer or agency as the Board may designate in the

case of any other type of bank, savings association, or credit union. The Board shall endeavor to


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avoid the imposition of unnecessary burdens on reporting institutions and the duplication of

other reporting requirements. Except as otherwise required by law, any data provided to any

department, agency, or instrumentality of the United States pursuant to other reporting

requirements shall be made available to the Board. The Board may classify depository

institutions for the purposes of this paragraph and may impose different requirements on each

such class.


5). Plaintiff further contends that the above Defendants do not have the right to initiate

foreclosure proceedings because Subject Property is unencumbered, free and clear of any liens.


6). The Plaintiffs argument is supported by the attached HUD 1 Settlement Statement which

verifies payment to bank seller. Rather than acting as an original lender to the defendants, the

HUD 1 Statement indicates that the original creditor only and solely operated as a Money

Transmitter. Under 0.C.G.A 7-1-680, "Authorized Agent means a person designated by a

licensee pursuant to 7-1-783 to engage in money transmission, the sale of payment instrument or

issuance of payment instruments.


7). The Plaintiffs argument is supported by the fact that the seller conveyed the attached

warranty Deed for the Plaintiffs property is free and clear, predating the Security Deed without

any liens or encumbrances. 0.C.G.A 11-9-102 (A) (11) states that" Certificate of title means a

certificate of title with respect to which a statute provides for the security interest in question to

be indicated on the Certificate as a condition or result of a security interest over the rights of a

lien creditor with respect to the collateral".




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8). The Plaintiff's was unknowingly placed in the origination stage in an illegal, unauthorized

irrevocable Trust, circumventing the Georgia Constitution Article I Paragraph XXVI and

0.C.G.A. 44-13-1, and conveying the Plaintiff's property through the Mortgage Electronic

Registration Systems without providing any valuable consideration also known as "MERS".


9). A resulting trust is the creation of an implied trust by operation of law, where property is

transferred to someone who pays nothing for it; and then is implied to have held the property for

benefit of another person. The trust property is said to "result" back to the transferor.


10).An additional key fact is that the "Original Creditor" created a secondary transaction in

which the parties operated in two distinct capacities. The Defendants signed as "accommodation

Party and the Originator signed as an "accommodated party. 0.C.G.A. 11-3-419 states that


(a) If an instrument is issued for value given for the benefit of a party to the instrument known as

the "accommodated party," and another party to the instrument known as the "accommodation

party" signs the instrument for the purpose of incurring liability on the instrument without being

a direct beneficiary of the value given for the instrument, the instrument is signed by the

accommodation party "for accommodation."


(b) An accommodation party may sign the instrument as maker, drawer, acceptor,


or endorser and, subject to subsection of this Code section, is obliged to pay the instrument in the

capacity in which the accommodation party signs. The obligation of an accommodation party

may be enforced notwithstanding any statute of frauds and whether or not the accommodation

party receives consideration for the accommodation.



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(c) A person signing an instrument is presumed to be an accommodation party and there is notice

that the instrument is signed for accommodation if the signature is an anomalous indorsement or

is accompanied by words indicating that the signer is acting as surety or guarantor with respect to

the obligation of another party to the instrument. Except as provided in Code Section 11-3-605,

the obligation of an accommodation party to pay the instrument is not affected by the fact that

the person enforcing the obligation had notice when the instrument was taken by that person that

the accommodation party signed the instrument for accommodation.


(d) If the signature of a party to an instrument is accompanied by words indicating

unambiguously that the party is guaranteeing collection rather than payment of the obligation of

another party to the instrument, the signer is obliged to pay the amount due on the instrument to

a person entitled to enforce the instrument only if:


(e) Execution of judgment against the other party has been returned unsatisfied;


(f) The other party is insolvent or in an insolvency proceeding; (iii) the other party cannot be

served with process; or (iv) it is otherwise apparent that payment cannot be obtained from the

other party.


11).Section 26 of the Attached Security Deed clearly states that, "this conveyance is to be

construed under the existing laws of the State of Georgia as a deed passing title, and not as a

mortgage, and is intended to secure payment of all sums secured hereby." H&R Block Mortgage

LLC has only brought in the Deed of Conveyance which is not a binding agreement, exists

pursuant to OCGA 13-3-1 Drake v Wallace No. A02A2147 Ga. Ct. App. And pursuant to OCGA

§ 11-9-203 (b)(a) to OCGA 11-9-203(b)(1)


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Another critical fact is that the deed of conveyance and Note was electronically transferred

illegally to MERS Mortgage Electronic Registration Systems without the permission of the

Plaintiff and without any valuable consideration into a Securitized (SPV) Special Purpose

Vehicle Trust. The Form S-3 registers securities under the Securities Act of 1933 for companies

that are based in the United States only. Statements of Financial Accounting - Standards No. 133,

Accounting for Derivative Instruments and Hedging Activities, commonly known as FAS 133, is

an accounting standard issued in June 1998 by the Financial Accounting Standards Board

(FASB) that requires companies to measure all assets and liabilities on their balance sheet at

"fair value".


This standard was created in Response to significant hedging losses involving derivatives years

ago and the attempt to control and manage corporate hedging as risk management not earnings

management. All derivatives within the scope of FAS 133 must be recorded at fair value as an

asset or liability. A FAS 140 shows, Accounting for Transfers and Servicing of Financial Assets

and Extinguishments of Liabilities. (EXHIBIT A)


12).The granting of the relief requested herein is in the public interest, as the consuming public,

including Plaintiff will continue to be harmed by the conduct of the defendants if the relief

requested herein is not granted. As a result of the Defendant's actions, Plaintiff has suffered

damages according to his evidence and seek injunctive relief that Defendant's actions have been

willful, knowing and malicious.


13). A clear genuine material fact is supported by the required forms used by the creditors to

document their financial transaction. These documents identify the creditor and the debtor and

provide financial reporting to federal agencies. Under Rule 1002 of the Federal Rules of
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Evidence, it is imperative to prove the content of a writing, recording, or photograph, the original

writing, recording, or photograph is required, except as otherwise provided in these rules or by

Act of Congress. Additionally Rule 1003 b) of the Federal Rules of Evidence addresses the

admissibility of copies. This rule states A duplicate is admissible to the same extent as an

original unless:


   (a) A genuine question is raised as to the authenticity of the original transaction/origination


                               or


   (b) In the circumstances it would be unfair to admit the duplicate in lieu of the original

       transaction/origination


Plaintiff has suffered and continues to suffer damages in a sum, which is yet unanswered. By

reason of the foregoing, Plaintiff has suffered and continues to suffer damages in a sum which is,

as yet unanswered. WHEREFORE, Plaintiff pray for relief as set forth below.


                   CONCLUSION AND PRAYER FOR RELIEF

Plaintiff prays that the Court grant the following::


A).That the Court compel Defendants to provide validated evidence proof of loss, and the above

federal forms to show of whose the creditor and whose the debtor, and lien or any instrument

that proves any claims by any secured creditor


B) To impose a temporary injunction;


C) That the Plaintiff recover his costs;


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D) for the immediate issuance of a Permanent Injunction precluding any action regarding

Plaintiffs property or any of this disposition of the subject property;


E) To proceed with Discovery (EXHIBIT A)


F) That the Court grant the Plaintiff a trial by jury to access the various damages sought against

the Defendant


G) The Court order all Credit Reporting Agencies to order all derogatory information pertaining

to reference Real Property, be corrected with 45 days of final ruling.


Plaintiff respectfully requests damages in the amount of $85,000,000.00 for recovery and other a

relief as determined by this Honorable Court which is deemed both just and proper.


DATED: May 22, 2019
Resp tfully Submi te
BY:
CASSANDRA JOHNSON- LANDRY ,
869 Natchez Valley Trace
Grayson, Georgia 30017
678.860.3621




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                       UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA



                             CERTIFICATE OF SERVICE
I hereby certify, I CASSANDRA JOHNSON-LANDRY have served on the 22nd Day of May,

2019 a copy of this Adversarial Complaint pursuant to Federal Bankruptcy Rules of Procedure

7001 for Injunctive Relief, Unfair and Deceptive Trade Practices, and Violation of RESPA, and

Trial by jury by depositing copies of same in the exclusive care and custody of the United States

Postal Service Via CERTIFIED MAIL, addressed to the parties listed herein below. I am also over

the age of 18 years.


1. H&R BLOCK MORTGAGE LLC.
  43150 Broadlands Center, Ste 122
  Broadlands, VA 20148

2. Mortgage Electronic Registration Systems
   1818 Library Street Suite 300
   Reston, VA 20190

3. OPTION ONE MORTGAGE LLC.
   945 Heather Turn
   Harrisburg, Oregon 97446

4. PHH MORTGAGE SERVICES
   1 Mortgage Way, Mount Laurel, New Jersey 08054-4637
                 and
   3000 Leadenhall Road, Mount Laurel, New Jersey 08054

5. DEUTSCHE BANK NATIONAL TRUST COMPANY
   Deutsche Bank
   60 Wall Street

Landry, 18-55697 LRC

                                                                                              13
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  New York, NY, 10005


6. S. GREGORY HAYS, CHAPTER 7 TRUSTEE
   UNITED STATES NORTHERN DISTRICT BANKRUPTCY COURT
   2964 Peachtree Road, Suite 555
 Atlanta, Georgia 30305-2153

7. HERBERT BROADFOOT, Esq
   Attorney for S. Gregory Hays, Chapter 7 Trustee
   2964 Peachtree Road, Suite 555
   Atlanta, Georgia 30305-2153

8. BRIAN JORDAN, Esq.
   Attorney for Movant
   Aldridge Pite, LLP
   Fifteen Piedmont Center
   3575 Piedmont Road, N.E, Suite 501
   Atlanta, Georgia 30305       elp


(ist_die,JAAA;
CASSANDRA JO SON- LAND '          e     ' ro Se
869 Natchez Valley Trace
Grayson, Georgia 30017
678.860.3621




Landry, 18-55697 LRC

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                               EXHIBIT A




Landry, 18-55697 LRC


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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                             CASE NO. 18-55697-LRC

CASSANDRA JOHNSON LANDRY,                          CHAPTER: 13

                Debtor.                            JUDGE LISA RITCHEY CRAIG


CASSANDRA JOHNSON LANDRY,
         Debtor,
         VS.

DEUTSCHE BANK NATIONAL TRUST
COMPANY, AS TRUSTEE FOR HSI ASSET
SECURITIZATION CORPORATION TRUST
2006-OPT2, MORTGAGE-PASS-THROUGH
CERTIFICATES, SERIES 2006-OPT2,
            Creditor.


 DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR HSI ASSET
    SECURITIZATION CORPORATION TRUST 2006-OPT2, MORTGAGE-PASS-
      THROUGH CERTIFICATES, SERIES 2006-OPT2'S MOTION TO QUASH
   SUBPOENAS TO TESTIFY AT DEPOSITIONS IN A BANKRUPTCY CASE (OR
                     ADVERSARY PROCEEDING)

         Deutsche Bank National Trust Company, as Trustee for HSI Asset Securitization Corporation

Trust 2006-OPT2, Mortgage-Pass-Through Certificates, Series 2006-OPT2 ("Deutsche Bank") and

its servicer, Ocwen Loan Servicing, LLC ("Ocwen") by and through their attorney, Aldridge Pite,

LLP, hereby respectfully submit its Motion to Quash Subpoena to Produce Documents, Information,

or Objects or to Permit Inspection of Premises in a Bankruptcy Case (or Adversary Proceeding)

("Motion to Quash") and in support thereof shows the Court as follows:

                                  FACTUAL BACKGROUND

                On July 21, 2005, Cassandra Landry ("Debtor") and Ivy Landry ("Co-Borrower")
                                              1                                  CASE No. 18-55697
                                  MOTION TO QUASH SUBPOENA
Case
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executed a Note in the principal sum of $285,600.00 (the "Note"). The Note reflects that it was

indorsed in blank. The Note is secured by a Security Deed (the "Security Deed") on the real property

located at 1440 Highland Lake Dr, Lawrenceville, Georgia 30045 (the "Property").1 The Security

Deed reflects that it was duly recorded in the Gwinnett County Real Property Records. (See Claim

No. 8-1 of the Claims Register).

        2.       The Security Deed was assigned to Deutsche Bank as evidenced by a Corporate

Assignment of Security Deed dated March 14, 2017, and recorded in the Gwinnett County Real

Estate Records ("Assignment"). (See Claim No. 8-1 of the Claims Register).

        3.       On April 3, 2018, Debtor filed a voluntary petition under Chapter 13 of the

Bankruptcy Code, in the United States Bankruptcy Court for the Northern District of Georgia —

Atlanta Division, and was assigned case number 18-55697-LRC. (Dckt. 1).

        4.       On August 15, 2018, Ocwen, by and through its counsel, received a Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Bankruptcy

Case (or Adversary Proceeding) ("Subpoena") from the Debtor via priority mail. A copy of the

Subpoena is attached hereto as Exhibit A.

        5.       The Subpoena commands Ocwen and its counsel to appear on August 17, 2018, at

9:00 AM at the office of Melissa J. Davey, Chapter 13 Trustee-260 Peachtree Street, Atlanta

Georgia and (b) produce and permit inspection and copying of certain documents. See Exhibit A.

                                          LEGAL AUTHORITY




1 The Note and Deed are collectively referred to as the "Subject Loan" or "Claim."
                                                          2                          CASE No. 18-55697
                                       MOTION TO QUASH SUBPOENA
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          6.       Pursuant to Rule 45 of the Federal Rules of Civil Procedure,2 a district court "must

quash or modify a subpoena that: (i) fails to allow a reasonable time to comply," "(ii) requires a

person who is neither a party nor a party's officer to travel more than 100 miles from where that

person resides, is employed, or regularly transacts business in person..."; or "(iv) subjects a person to

undue burden." Fed. R. Civ. P. 45(c)(3)(A).

          7.       Courts have explained the standard for determining whether a subpoena duces tecum

subjects a person to undue burden, as follows:

                   The moving party has the burden of proof to demonstrate that
                   compliance with the subpoena would be unreasonable and oppressive.
                   To determine whether a subpoena imposes an undue burden, a court
                   must consider (1) relevance of the information requested; (2) the need
                   of the party for the documents; (3) the breadth of the document
                   request; (4) the time period covered by the request; (5) the
                   particularity with which the party describes the requested documents;
                   and (6) the burden imposed.

United States ex rel. Willis v. SouthernCare, Inc., No. CV410-124, 2015 US. Dist. LEXIS 127746, at

*28 (S.D. Ga. Sep. 23, 2015) citing Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 (5th

Cir.2004) (internal quotation marks and footnotes omitted).

                                                  ARGUMENT

A.        THE SUBPOENA SHOULD BE QUASHED ON THE GROUND THAT IT WAS
          NOT PROPERLY SERVED

          8.       Rule 45 requires service of a subpoena to "be made by delivering a copy thereof to

[the person named therein]." Fed. R. Civ. P. 45(b)(1). The 11th Circuit has found that "a witness in a

civil case must be tendered fees before service of a subpoena is complete". Lloyd v. McKendree, 749


2   As made applicable to this case by Rule 9016 of the Federal Rules of Bankruptcy Procedure.
                                                           3                                     CASE No. 18-55697
                                          MOTION TO QUASH SUBPOENA
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E2d 705, 706 (11th Cir. 1985). "Courts uniformly agree that proper service requires not only

personal delivery of the subpoena, but also simultaneous tendering of the witness fee and a

reasonable mileage allowance." In re Compel Testimony of Orlando, No. 14-MC-60624-

SCOLANALLE, 2014 US. Dist. LEXIS 196643, at *5 (S.D. Fla. Apr. 23, 2014) citing In re Dennis,

330 E3d 696, 704 (5th Cir. 2003).

       9.      Pursuant to the Subpoena, Debtor commands Ocwen and its counsel to appear at the

Office of the Chapter 13 Trustee to produce documents within four days of the date on the Subpoena.

       10.     As a preliminary matter, Debtor failed to properly serve the Subpoena as it was

served, or purported to be served, on Ocwen by mail, not personal delivery. Accordingly, Debtor's

service of the Subpoena did not comply with Rule 45(b)(2)(C).

       11.     The Subpoena likewise failed to comply with the witness and mileage allowance

requirements of Rule 45. More specifically, the Subpoena was sent by mail with no accompanying

payment for fees and mileage. For these reasons, the Subpoena should be quashed for insufficient

service.

B.     THE SUBPOENA MUST BE QUASHED BECAUSE IT FAILS TO ALLOW A
       REASONABLE TIME TO COMPLY

       12.     The Subpoena requires Ocwen to produce documents and appear at the Office of the

Chapter 13 Trustee with at most two (2) days' notice. Indeed, Wilmington received the Subpoena on

August 15, 2018, and said Subpoena request compliance by August 17, 2018. This is not a

reasonable amount of time because, as argued above, service of the Subpoena is defective. Some

Courts have found that fourteen days to be a reasonable time to comply. In re Rule 45 Subpoena to

Fid. Nat'l Info. Servs. v. Am. Express Co., 2009 US. Dist. LEXIS 122142. It follows that the
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Subpoena must be quashed under Rule 45(c)(3)(A)(i) based on failure to provide reasonable time to

comply.

C.     THE SUBPOENA MUST BE QUASHED BECAUSE IT SUBJECTS MOVANT TO
AN     UNDUE BURDEN

       13.     In determining whether a subpoena should be enforced, the Court is guided by not

only Rule 45(c)(3)(A)(iv), which protects subpoenaed parties from "undue burden," but also Federal

Rule of Civil Procedure 26, which provides, inter alia, that a court may limit discovery if "the

discovery sought...is obtainable from some other source that is more convenient, less burdensome,

or less expensive" or if "the burden or expense of the proposed discovery outweighs its likely

benefit." Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 577 (N.D. Cal. 2007)(citing Fed. R.

Civ. P. 26(b)(2)(C)). Courts "weigh the burden to the subpoenaed party against the value of the

information to the servicing party" in determining whether a subpoena poses an undue burden.

Travelers Indem. Co. v. Metropolitan Life Insur. Co., 228 F.R.D. 111, 113 (D.Conn.2005); Moony.

SCP Pool Corp., 232 F.R.D. 633, 637 (C.D.Ca1.2005). Generally, this requires consideration of

"relevance, the need of the party for the documents, the breadth of the document request, the time

period covered by it, the particularity with which the documents are described and the burden

imposed." Id. (quoting United States v. IBM 83 F.R.D. 97, 104 (S.D.N.Y.1979)).

       14.     In determining whether a subpoena should be enforced, the Court the nature and

scope of the information requested. United States ex rel. Willis v. SouthernCare, Inc., No. CV410-

124, 2015 US. Dist. LEXIS 127746 (S.D. Ga. Sep. 23, 2015) (Motion to Quash granted, in part,

where a subpoena sought sensitive documents "wholly irrelevant" to the case with no showing why

such documents were requested).
                                              5                                  CASE No. 18-55697
                                  MOTION TO QUASH SUBPOENA
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       15.     Through the Subpoenas, Debtor is seeking multiple documents which Ocwen is

unable to decipher what the Debtor is requesting and whether it would even have responsive

documents or whether such documents contain privileged information. It is not clear what relevance

these documents have to Debtor's bankruptcy case. Simply stated, the documents Debtor seeks have

no apparent relevance to this case and Debtor does not otherwise provide information regarding his

right to the requested documents.

       16.     Finally, the Subpoena does not describe the documents to be produced with sufficient

particularity. In short, the descriptions in the Subpoena do not sufficiently apprise Ocwen of the

documents Debtor seeks.

       17.     Given the foregoing issues, responding to the Subpoena poses an undue burden on

Wilmington. As a consequence, it must be quashed pursuant to Rule 45(c)(3)(A)(iv).



                                            PRAYER

       WHEREFORE, Wilmington respectfully requests: (i) entry of an order quashing the

Subpoenas and (ii) such other and further relief as the Court deems just and proper.

Dated: August 16, 2018                       Respectfully Submitted,



                                             By: /s/ Brian K Jordan
                                                   Brian K. Jordan, GA Bar No 113008
                                                  Attorney for Deutsche Bank National Trust
                                                  Company, as Trustee for HSI Asset
                                                  Securitization Corporation Trust 2006-OPT2,
                                                  Mortgage-Pass-Through Certificates, Series
                                                   2006-OPT2
                                                  Aldridge Pite, LLP
                                                6                                 CASE No. 18-55697
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                                        Fifteen Piedmont Center
                                        3575 Piedmont Road, N.E., Suite 500
                                        Atlanta, GA 30305
                                        Phone: (404) 994-7400
                                        Fax: (888) 873-6147
                                        Email: bjordan@aldridgepite.com




                                       7                            CASE No. 18-55697
                           MOTION TO QUASH SUBPOENA
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                                CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing DEUTSCHE BANK NATIONAL TRUST

COMPANY, AS TRUSTEE FOR HSI ASSET SEClURITIZATION CORPORATION TRUST

2006-OPT2, MORTGAGE-PASS-THROUGH CERTIFICATES, SERIES 2006-OPT2'S

MOTION TO QUASH SUBPOENAS TO TESTIFY AT DEPOSITIONS IN A

BANKRUPTCY CASE (OR ADVERSARY PROCEEDING) has been filed using the CM/ECF

online filing system with the U.S. Bankruptcy Court for the Northern District of Georgia which will

automatically send email notification to all counsel of record and by U.S. Mail upon the following:

                                            U.S. Mail:

Cassandra Johnson Landry
869 Natchez Valley Trace
Grayson, GA 30017

Respectfully submitted this 16th day of August, 2018.

                                             /s/ Brian K. Jordan
                                             Brian K. Jordan
                                             Georgia Bar No. 113008
                                             Fifteen Piedmont Center
                                             3575 Piedmont Road, N.E.
                                             Suite 500
                                             Atlanta, GA 30305
                                             Phone: (404) 994-7304
                                             E-mail: bjordan@aldridgepite.com




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B2570 (Form 2570— Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPXY COURT
                                                                           District of
In r
                                       ebtor

          (Complete if issued in an adversary proceeding)
                                                                                    Case No. b i—          5"--5- ,"--) -Z.
                                                                                    Chapter        43
                                     Plaintiff
                                        V.                                          Adv. Proc. No.
                                    Defendant

          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
                    OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
          IrjpECTION
                                                                          aid) A 9I1011,1 /5- Pc
                                                            aine of person to whon the subpoena is directed)


            tion: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
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   ocuments, electronically stored information, or objects, a.nd to permit inspection, coryitl, testing, or sampling-of the—fa.rdil
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 111  Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location Set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                     DATE AND TIME



          The folloWing provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached — Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and IZZ:1 7./.1 5(e) and 45(g), relating to your d..tQespond to this subpoena and the potential consequences of not
  doing so.

  Date:      AUG    1 3 2.018   .

                                     CLERK OF COURT

                                                                                    OR

                                        nature of Clerk or De      11yC                            Attorney's signature

                        s, email ddre s, and telephone number of the attorney representing (name of party)
                                          , who 'ssues or re ests this subpoena, are:
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                                         ce to the person who issues or requests this subifoena
  If this sub oena c it ands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                                                                                                         Exhibit A
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    IT IS ORDERED as set forth below:



    Date: September 11, 2018

                                                                      Lisa Ritchey Craig
                                                                 U.S. Bankruptcy Court Judge




                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

  IN THE MATTER OF:                            CASE NUMBER

  CASSANDRA JOHNSON LANDRY,                    18-55697-LRC

        Debtor.

  DEUTSCHE BANK NATIONAL TRUST
  COMPANY, as Trustee for HIS Asset
  Securitization Corporation Trust
  2006-OPT2, Mortgage Pass-Through
  Certificates, Series 2006-OPT2,

        Movant,

        V.

  CASSANDRA JOHNSON LANDRY,                    IN PROCEEDINGS UNDER
                                               CHAPTER 13 OF THE
        Respondent.                            BANKRUPTCY CODE

                                        ORDER

        Before the Court is the Motion to Quash Subpoenas to Testify at Depositions in a
Case 19-05218-lrc     Doc 1     Filed 05/22/19 Entered 05/22/19 11:20:04           Desc Main
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  Bankruptcy Case (or Adversary Proceeding) (the "Motion") (Doc. No. 53), filed by

  Deutsche Bank National Trust Company, as Trustee for HIS Asset Securitization

  Corporation Trust 2006-OPT2, Mortgage-Pass-Through Certificates, Series 2006-OPT2

  ("Deutsche Bank") and its servicer, Ocwen Loan Servicing, LLC ("Ocwen").             The

  Motion was filed on August 16, 2018, and seeks to quash a subpoena issued by the

  Debtor, pro se, which is dated August 13, 2018, and requires Ocwen and its counsel to

  appear at 9:00 a.m. on August 17, 2018, at the office of the Chapter 13 Trustee (the

  "Subpoena") and to produce certain documents. Deutsche Bank and Ocwen object to the

  Subpoena because: (1) the Subpoena was not served properly, as it was sent to counsel for

  Ocwen by priority mail, rather than by personal delivery and was not accompanied by a

  tender of witness fees and mileage; (2) Ocwen's counsel received the Subpoena only two

  days before the appearance and production deadline; (3) items to be produced are unclear;

  (4) some of the requested documents may be privileged; and (5) the documents requested

  are not relevant to the Debtor's bankruptcy case.

        Debtor has not responded to the Motion. Further, it is obvious from the Court's

  review of the Subpoena, which is attached to the Motion, that the Subpoena must be

  quashed, especially considering Deutsche Bank and Ocwen's objection to the lack of

                                              2
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  proper service and their contention that Ocwen's counsel did not receive the Subpoena

  until two days before the appearance and production deadline.

          The Court concludes that the Subpoena should be quashed, pursuant to Federal

  Rule of Bankruptcy Procedure 9016, which incorporates Fed. R. Civ. P. 45(b)(1),

  45(d)(3). Service of the Subpoena was not made in accordance with Rule 45(b)(1). The

  items requested in the Subpoena are nearly unintelligible, and there is no apparent

  connection between the documents requested and the matters pending in this bankruptcy

  case.   The notice and response time given in the Subpoena did not constitute a

  "reasonable time to comply," see Webb v. U.S. Bank, NA., 2014 WL 12461040, at *2

  (N.D. Ga. Dec. 16, 2014) (allowing "only four business days to comply with each

  subpoena was not a reasonable time"), and the documents, whatever they may be, could

  include privileged or other protected matter, but Deutsche Bank and Ocwen have not been

  given sufficient direction as to what documents are requested or sufficient time to

  determine whether any documents may be protected by privilege.

          For the reasons stated above, the Motion to Quash is GRANTED;

          IT IS ORDERED that the   Subpoena is quashed;

          IT IS FURTHER ORDERED that, should Debtor wish to obtain discovery from

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  Deutsche Bank, she may proceed in accordance with Rules 7026 and 7028-7037 of the

  Federal Rules of Bankruptcy Procedure, made applicable to the contested matter initiated

  by Deutsche Bank when it filed a Motion for Relief from the Automatic Stay against the

  Debtor and the Chapter 13 Trustee (Doc. 38) (see Fed. R. Bankr. P. 9014(c)).

                                        END OF DOCUMENT




  Distribution List

  Brian K. Jordan
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  Melissa J. Davey
  Suite 200
  260 Peachtree Street, NW
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  Cassandra Johnson Landry (pro se)
  869 Natchez Valley Trace
  Grayson, GA 30017




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